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                                   8                                   UNITED STATES DISTRICT COURT

                                   9                                  NORTHERN DISTRICT OF CALIFORNIA

                                  10                                            San Francisco Division

                                  11     DJENEBA SIDIBE, et al.,                             Case No. 12-cv-04854-LB
                                  12                    Plaintiffs,
Northern District of California
 United States District Court




                                                                                             ORDER REGARDING TRIAL
                                  13             v.                                          LOGISTICS
                                  14     SUTTER HEALTH, et al.,
                                  15                    Defendants.

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                                  17      By Monday, January 17, 2022, the parties must confer and submit a joint statement about jury

                                  18   selection on the following two issues.

                                  19      One, evaluate the hardships that the court provided previously (just as the parties did

                                  20   previously during jury selection).

                                  21      Two, assuming jury selection on February 9, 2022, is it better to time screen additional jurors

                                  22   or start fresh (given that jury selection will require a new selection and a new time screen in any

                                  23   event).

                                  24      IT IS SO ORDERED.

                                  25      Dated: January 14, 2022                        _                     ____________________
                                                                                         LAUREL BEELER
                                  26                                                     United States Magistrate Judge
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                                       ORDER – No. 12-cv-04854-LB
